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 1   THE AFTERGOOD LAW FIRM
     Aaron D. Aftergood (239853)
 2   aaron@aftergoodesq.com
     1880 Century Park East, Suite 200
 3   Los Angeles, CA 90067
     Telephone: (310) 551-5221
 4   Facsimile: (310) 496-2840
 5   WOODROW & PELUSO, LLC
     Patrick H. Peluso*
 6   ppeluso@woodrowpeluso.com
     Taylor T. Smith*
 7   tsmith@woodrowpeluso.com
     3900 East Mexico Avenue, Suite 300
 8   Denver, Colorado 80210
     Telephone: (720) 213-0675
 9   Facsimile: (303) 927-0809
10   *Pro Hac Vice admission to be filed
11   Attorneys for Plaintiff Tracy Eggleston
     and the Class
12
13                         UNITED STATES DISTRICT COURT

14         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

15
     TRACY EGGLESTON, individually                       Case No. 2:19-cv-10071-VAP-RAO
16   and on behalf of all others similarly
     situated,                                           NOTICE OF ERRATA TO
17                                                       PLAINTIFF TRACY EGGLESTON’S
                                  Plaintiff,
18                                                       CLASS ACTION COMPLAINT
     v.
19                                                       Hon. Virginia A. Phillips
     DIRECT PROTECT SECURITY &
20   SURVEILLANCE, INC. a California
     corporation,                                        Complaint Filed: November 25, 2019
21
                                  Defendants.
22
23         Plaintiff Tracy Eggleston (“Plaintiff”) respectfully submits this errata to her

24   Class Action Complaint (“Complaint”), which was filed on November 25, 2019, at

25   Docket No. 1, in order to correct an error. At page 10, the Complaint does not

26   contain a signature of Plaintiff’s counsel. A corrected Complaint is attached hereto

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                      Notice of Errata to Plaintiff Tracy Eggleston’s Class Action Complaint
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 1   as Exhibit A, which contains the signature of Plaintiff’s counsel and makes no other
 2   changes.
 3                                                 Respectfully submitted,
 4
 5
     Dated: December 2, 2019                       Tracy Eggleston, individually and on behalf
                                                   of all others similarly situated,
 6
 7                                        By:        s/ Aaron D. Aftergood
                                                   One of Plaintiff’s Attorneys
 8
                                                   THE AFTERGOOD LAW FIRM
 9                                                 Aaron D. Aftergood (239853)
                                                   aaron@aftergoodesq.com
10                                                 1880 Century Park East, Suite 200
                                                   Los Angeles, CA 90067
11                                                 Telephone: (310) 551-5221
                                                   Facsimile: (310) 496-2840
12
13                                                 Patrick H. Peluso*
                                                   ppeluso@woodrowpeluso.com
14                                                 Taylor T. Smith*
                                                   tsmith@woodrowpeluso.com
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16                                                 Denver, Colorado 80210
                                                   Telephone: (720) 213-0675
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18                                                 *Pro Hac Vice admission to be sought
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                     Notice of Errata to Plaintiff Tracy Eggleston’s Class Action Complaint
                                                     -2-
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 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on December 2, 2019.
 5                                                 s/ Aaron D. Aftergood
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                     Notice of Errata to Plaintiff Tracy Eggleston’s Class Action Complaint
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